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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM‘

Authorized by.Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

MDL 2179 - SECTION: J : JUDGE CARL BARBIER

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset.Leasing GmbH, et
al., No. 10-2771;.adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec.. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene.
into, join and otherwise. adopt:the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md.2179). St tO oo
Last Name 0) 2 wr | FirstName _ Middle Name/Maiden | Suffix
dock deyee
Phone Number oy , : E-Mail Address
S84 24S Gol q ee
Address . City / State / Zip
4490 Franny Dr UW Dries LW “ola
Employer Name-_ Business Name
‘Job Title / Deseription fe a: ~~ Se Type of Business
Address ~~. StS Address
City / State / Zip oS “City / State / Zip
Last 4 digits of your Social Secutity Number 4 y 43 , | Last 4 digits of your Tax ID Number
Attorney Name LS a, , : Firm Name
Sidney D. Torres, Roberta L. Burns, David C. Jarrell Law Offices of Sidney D. Torres, I, APLC
Address . ve co City / State / Zip
8301 W. Judge Perez Dr., Ste 303 Chalmette, LA 70032
Phone Number E-Mail Address
(504) 271-8421 So dcej@torres-law.com
Claim filed with BP? YES 7 No - Claim Filed with GCCF?:. YES [[] NO []
If yes, BP Claim No.: me - - . : If yes, Claimant Identification No.:
Claim Type (Please check all that apply):
oO image or destruction to real or personal property . Fear of Future Injury and/or Medical Monitoring
oO Earnings/Profit Loss — - Loss of Subsistence use of Natural Resources
Personal Injury/Death — , oy Removal and/or clean-up costs
: : __. ‘Other:

| this form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.

10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
. 2179), the filing of this form in C,A. No. 10-8888 shall be deemed to be simultaneously filed-in-C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Brief Description: ao
1. For earnings/profit loss, property damage and loss of subsistence use Glaims, describe the nature of the injury. For claims

involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location: of fishing grounds at issue.

less of gubsistence Use

2. For personal injury, claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each. :

_ Lespirodor y Expocurt

3. For post-explosion claims related to clean-up or removal; include your role in the clean-up activities, the name of your
employer, and where you were working. oe ~

2.

The filing of this Direct Filing Short Form shall.also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic _Loss and Property Damage Claims (Bundle B1)

Oj 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering,

O 2. Seafood processor, ‘distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

CJ 3. - Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fi ishing ‘business who earn their living through the use of the Gulf of Mexico.

Oo 4. émmercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an’employee thereof.

Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

Plant and dock worker, including commercial seafood ‘plant worker, longshoreman, or ferry operator. ,

Owner, lessor;- or. igssee of real. property. alleged to be damaged, harmed or impacted, physically or economically, including
a lessees of ‘oyster beds.

J 8.- Hotel owner and. operator, vacation rental owner and agent, or all those who eam their living from the tourism industry.
: Bete fi naricia institution, or.retail business that suffered losses as a result of the spill.

Person who utilizes natural resources for subsistence.

i Other: eso. Eye.

Post- Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

0 1. "Boat captain or crew involved i in the Vessels of Opportunity program.

~ oO 2. “Wetter involved i in | decontaminating vessels: that’ came into contact with oil and/or chemical dispersants.

3. ” Vessel. captain o or crew who was not involved’in the Vesseis of Opportunity program but who were exposed to harmful chemicals, -
_ odors and emissions during post-explosion clean-up activities.

A. Clean-up worker or beach personnel involved in clean-up. activities along shorelines and intercoastal and intertidal zones,
5.

aK om who lives or works { in close proximity to coastal waters.
Other: Esp d ef: ___ wt :

Both BP and. the. Gulf Coast Claims Facility ¢! 'GCCF") are: hereby . authorized. to. release to the Defendants in MDL

2179 ail information: and documénts submitted: by above-named Plaintiff and information regarding the status of any ~

payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protectin onfidentiality (Pre-Trial Order No. 11), and subject to full copies of sarie being made available to both
i i attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Saar re — 7
soy Ce Lecboon

Print Name

414-1

Date

3

' The filing of this Direct Filing Short Form shall also serve in lieu of the requirement ofa Plaintiff to file a Plaintiff Profile Form.

